 Edward J. Maney, Trustee
 101 North First Ave., Suite 1775
 Phoenix, Arizona 85003
 Telephone (602) 277-3776
 Fax (602) 277-4103

                                      IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF ARIZONA, PHOENIX DIVISION

 In Re:                                                     )           CHAPTER 13 PROCEEDINGS
 KENNETH ANTHONY RADOS                                      )
 KRISTA ELIZABETH RADOS                                     )           CASE NO. 2-16-08119-MCW
 3449 E. ISAIAH AVE.                                        )
                                                            )           CHAPTER 13 TRUSTEE'S REPORT
 GILBERT, AZ 85298                                          )           OF ALLOWED CREDITOR CLAIMS
 __________________________________________                 )

         Notice is hereby given to the Debtor and Counsel, if any, that the Trustee intends to pay the claims as filed by the
 creditors listed below, or as amended by the Stipulated Order Confirming the debtor's Chapter 13 Plan, unless an objection is
 made by the Debtor or other party of interest within 30 days from the date of this notice. In the event that additional claims are
 discovered at a later date, the Trustee may file a Supplemental Notice of Allowed Creditor Claims.

 ________________________________________________________________________________________________________
 Name and Address of Creditor                         Date Filed         Amount       Int % Class
 ________________________________________________________________________________________________________

JP Morgan Chase                                                                   $23131.46          0% Secured
     PO Box 24696

      Columbus, OH 43224-

Seville Homeowners Association                             09/07/2016              $6952.30          0% Secured
       c/o Carpenter,Hazlewood,Delgado&Wood
       1400 E. Southern Ave., Ste. 400
       Tempe, AZ 85282-

Office of the Arizona Attorney General                     09/07/2016              $7623.85          0% Priority
      Tax, Bankruptcy, & Collection Section
      1275 West Washington
      Phoenix, AZ 85007-

Office of the Arizona Attorney General                     09/07/2016              $1387.29          0% Unsecured
      Tax, Bankruptcy, & Collection Section
      1275 West Washington
      Phoenix, AZ 85007-

Internal Revenue Services                                  07/21/2016             $88526.66          0% Priority
      bankruptcy payments
      P.O. Box 7317
      Philadelphia, PA 19101-7317

Internal Revenue Services                                  07/21/2016             $44710.21          0% Unsecured
      bankruptcy payments
      P.O. Box 7317
      Philadelphia, PA 19101-7317

Compass Bank                                               08/05/2016              $8580.00          0% Unsecured
    Attn: Bankruptcy/Recovery
    P.O. Box 10566
    Birmingham, AL 35096-

United Student Aid Funds, Inc.                             08/09/2016             $51413.53          0% Unsecured
      Attn: Bankruptcy/Recovery
      P.O. Box 6180
      Indianapolis, IN 46206-6180




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 Name and Address of Creditor                         Date Filed         Amount       Int % Class
 ________________________________________________________________________________________________________

Wells Fargo                                         09/20/2016           $321.63        0% Unsecured
      301 E. 58th Street N

      Sioux Falls, SD 57104-

Wells Fargo                                         09/20/2016          $4359.05        0% Unsecured
      301 E. 58th Street N

      Sioux Falls, SD 57104-

Midland Credit Management, Inc.                     10/11/2016          $1946.00        0% Unsecured
     as agent for Midland Funding LLC
     PO Box 2011
     Warren, MI 48090-

Wells Fargo Servicing Center                        11/01/2016          $3185.93        0% Unsecured
      P.O. Box 94423
      MAC Q2132-023
      Albuquerque, NM 87199-

Jefferson Capital Systems LLC                       11/15/2016           $418.92        0% Unsecured
       PO BOX 772813

      Chicago, IL 60677-2813

Wells Fargo Bank, N.A.                              11/16/2016          $9841.05        0% Unsecured
      Recovery Department
      P.O. Box 9210
      Des Moines, IA 50306-

Ashley Funding Services LLC                         11/16/2016            $22.14        0% Unsecured
      Resurgent Capital Service
      P.O. Box 10587
      Greenville, SC 29603-0587

Ashley Funding Services LLC                         11/16/2016            $52.21        0% Unsecured
      Resurgent Capital Service
      P.O. Box 10587
      Greenville, SC 29603-0587

Ashley Funding Services LLC                         11/17/2016            $66.25        0% Unsecured
      Resurgent Capital Service
      P.O. Box 10587
      Greenville, SC 29603-0587

United Student Aid Funds, Inc.                      08/09/2016          $1649.91        0% Unsecured
      Attn: Bankruptcy/Recovery
      P.O. Box 6180
      Indianapolis, IN 46206-6180

Spencer's Air Conditioning &                                               $0.00        0% Unsecured
     Appliance, Inc
     525 W. 21st Street
     Tempe, AZ 85282-

Department Stores National Bank                                            $0.00        0% Unsecured
      701 East 60th Street

      Sioux Falls, SD 57104-

IC SYSTEMS, INC.                                                           $0.00        0% Unsecured
     444 HIGHWAY 96 EAST
     P.O. BOX 64378
     ST PAUL, MN 55164-




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 Name and Address of Creditor                         Date Filed         Amount       Int % Class
 ________________________________________________________________________________________________________

Midland Credit Management                                                  $0.00        0% Unsecured
     Attn: Bankruptcy Department
     8875 Aero Drive Suite 200
     San Diego, CA 92123-2251

Monterey Financial Services                                                $0.00        0% Unsecured
     4095 Avenida de la Plata

     Oceanside, CA 92056-

Syncb/Financing                                                            $0.00        0% Unsecured
     c/o P.O. Box 965036

     Orlando, FL 32896-5036

OSWALT LAW GROUP                                                        $4500.00        0% Legal
    300 W. Clarendon Avenue
    Suite #290
    Phoenix, AZ 85013-




                                                            Edward J. Digitally            signed by
                                                                                  Edward J. Maney, Esq.

                                                            Maney,        Esq.    Date: 2017.03.23
                                                                                  09:48:53 -07'00'
                                                            ______________________________________
                                                            Edward J. Maney
                                                            101 North First Ave., Suite 1775
                                                            Phoenix, Arizona 85003
                                                            Telephone (602) 277-3776 Fax (602) 277-4103
                                                            Email: office@maney13trustee.com




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